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                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION

 CHRISTIE POITRA,

          Plaintiff,
                                                                       Case No. 1:22-cv-47
 v.
                                                                       HON. JANE M. BECKERING
 MICHIGAN STATE UNIVERSITY, et al.,

          Defendants.
                                                  /

                                     CASE MANAGEMENT ORDER

         IT IS HEREBY ORDERED:

 Motions to Join Parties or Amend Pleadings                                     JUNE 15, 2023
 Rule 26(a)(1) Disclosures                                                      MAY 25, 2023
 Disclose Name, Address, Area of Expertise and                     Plaintiff:   AUGUST 18, 2023
 provide a short summary of expected testimony                   Defendants:    SEPTEMBER 15, 2023
 of all testifying experts (Rule 26(a)(2)(A))                      Rebuttal:    SEPTEMBER 29, 2023
 Disclosure of Expert Witness Reports                              Plaintiff:   SEPTEMBER 15, 2023
 (Rule 26(a)(2)(B))                                              Defendants:    OCTOBER 13, 2023
                                                                   Rebuttal:    OCTOBER 27, 2023
 Completion of Discovery                                                        NOVEMBER 17, 2023
 Dispositive Motions                                                            JANUARY 16, 2024
 Interrogatories will be limited to:                                            25 single part questions
 (Single Part Questions)
 Depositions will be limited to:                                                10 per side
 (Fact Witnesses Per Side)
 ADR To Take Place On Or Before:                                                DECEMBER 20, 2023

1.       JOINDER OF PARTIES AND AMENDMENTS OF PLEADINGS: All motions for joinder of
         parties and all motions to amend the pleadings must be filed by the date set forth in the table above.

2.       DISCLOSURES AND EXCHANGES: Deadlines for exchange of Rule 26(a)(1) disclosures,
         names of lay witnesses, identification of experts, voluntary exchange of documents, and disclosure
         of expert reports under Rule 26(a)(2), if applicable, are ordered as set forth in the table above.

3.       DISCOVERY: All discovery proceedings shall be completed no later than the date set forth in the
         table above, and shall not continue beyond this date. All interrogatories, requests for admissions,
         and other written discovery requests must be served no later than thirty days before the close of
         discovery. All depositions must be completed before the close of discovery. Interrogatories will
         be limited as set forth in the table above. Depositions will be limited as set forth in the table above.
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        There shall be no deviations from this order without prior approval of the court upon good cause
        shown. Time limitations for depositions set forth in Rule 30(d)(1) apply to this case.

4.      MOTIONS:

        a.      Non-dispositive motions shall be filed in accordance with W.D. Mich. LCivR. 7.3. They
                may be referred to a Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(A). In accordance
                with 28 U.S.C. § 471, et seq., it is the policy of this Court to prohibit the consideration of
                discovery motions unless accompanied by a certification that the moving party has made a
                reasonable and good faith effort to reach agreement with opposing counsel on the matters
                set forth in the motion.

        b.      Dispositive motions shall be filed in accordance with W.D. Mich. LCivR 7.2 by the date
                set forth in the table above. If the dispositive motion is based on depositions, the Court
                prefers that parties file the entire deposition transcript with the relevant portions
                highlighted. Alternatively, a party may file only those excerpts that are relevant to the
                motion. If the dispositive motion references answers to interrogatories as a supporting
                document, then only those excerpts that are relevant to the motion shall be filed. The Court
                may schedule oral argument or may, in its discretion, dispose of the motion without
                argument at the end of the briefing schedule. Pursuant to Administrative Order 07-026,
                one courtesy copy of all dispositive motion papers (including responses and replies)
                and all accompanying exhibits must be submitted directly to the judge’s chambers on
                paper. The copy must be hand-delivered or sent via first class mail the same day the
                document is e-filed.

5.      ALTERNATIVE DISPUTE RESOLUTION: In the interest of facilitating prompt resolution of
        this case, and the parties having voluntarily selected facilitative mediation, this matter shall be
        submitted to facilitative mediation. The parties have fourteen (14) days from the date of this Order
        to jointly choose one mediator from the list of court certified mediators.1 Plaintiff is responsible
        for e-filing notification of the name of the selected mediator. If the parties are unable to jointly
        select a mediator, they must notify the ADR Administrator2, who will select a mediator for them.
        Once the mediator is selected, a Notice will issue regarding the method and schedule for the
        mediation conference.

6.      SETTLEMENT: The parties are under an ongoing obligation to engage in good faith settlement
        negotiations.


      Counsel and the parties shall comply with the current version of the undersigned’s
Information and Guidelines for Civil Practice (available on the court’s website).



Dated: April 25, 2023                                           /s/ Jane M. Beckering
                                                               JANE M. BECKERING
                                                               UNITED STATES DISTRICT JUDGE

1
 www.miwd.uscourts.gov.
2
 ADR Administrator, U.S. District Court, 399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503; 616/456-
2381; adr@miwd.uscourts.gov.

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